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                    Application GRANTED IN PART. The Order issued April 20, 2023, set a briefing
                    schedule for Defendants' anticipated motion to compel arbitration. The parties'
                    request for a stay of these deadlines is GRANTED. The parties' request for a stay
                    of all discovery deadlines is DENIED. The Case Management Plan and Scheduling
                    Order, issued March 31, 2023, states "The use of any alternative dispute resolution
                    mechanism does not stay or modify any date in this order." The parties may
                    request an extension of the deadline to complete discovery closer to that
                    deadline. The parties are apprised that such extensions are only granted upon a
                    showing of diligence in taking discovery. The parties' request to file a status letter
      May 11, 2023  regarding the status of mediation is GRANTED. The parties shall file a status letter
                    regarding the progress of mediation and discovery on May 26, 2023, and every
      Via ECF       thirty days thereafter until the close of fact discovery. So Ordered.
      The Honorable Lorna G. Schofield
      United States District Judge
                                       Dated: May 12, 2023
      Southern District of New York           New York, New York
      40 Foley Square, Court Room 1106
      New York, New York 10007

      Re:       Gallagher et al v. National Restaurant Association Solutions, LLC et al, Case No.
                1:23-cv-00435 – Joint Letter regarding Mediation and Suspension of Deadlines

      Dear Judge Schofield:

      Defendants National Restaurant Association Solutions, LLC and National Restaurant Association
      d/b/a ServSafe, jointly with Plaintiffs Sean Gallagher, Piaget Ventus, Ianos Ortega and Nicole
      Ascencio, respectfully submit this letter to the Court requesting a stay of all discovery and
      briefing deadlines, including Defendants’ motion to compel arbitration due this Friday, May 12,
      as the parties have agreed to mediate this matter.

      The parties propose to file a status report with the Court in two weeks to advise the Court of the
      parties progress in selecting a mediator and to schedule mediation. The parties further propose
      to file joint status reports every 30 days, or at such an interval as the Court may order, updating
      the Court on the parties progress.

      We thank the Court for its attention to this matter.

                                                         Respectfully submitted,

                                                         /s/ Lewis S. Wiener

                                                         Lewis S. Wiener

                                                         Counsel for Defendants


      Cc: Counsel of Record (via ECF)




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